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     In The United States Court of Federal Claims
                                              No. 09-583C

                                      (Filed: June 1, 2012)
                                           __________

  AUTOMAK GENERAL TRADING &
  CONTRACTING COMPANY, W.L.L.,

                                 Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.

                                               __________

                                                ORDER
                                               __________

         Today, the parties filed a joint motion seeking an enlargement of time of 31 days to make
their initial disclosures to allow plaintiff to receive payment pursuant to the parties’ settlement
agreement. The motion is hereby GRANTED. Accordingly:

       1.       On or before July 2, 2012, the parties shall exchange initial disclosures;
                and

       2.       Should the parties seek any additional enlargements of time, their motion
                shall indicate the cause for delay in plaintiff’s receipt of settlement
                payments.

       IT IS SO ORDERED.




                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
